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 7                         UNITED STATES DISTRICT COURT
 8
                        SOUTHERN DISTRICT OF CALIFORNIA
 9
      UNITED STATES OF AMERICA,             Case No.: 21-cr-2650-AJB
10
                  Plaintiff,                JUDGMENT AND ORDER
11                                          DISMISSING THE INDICTMENT
12                                          WITHOUT PREJUDICE
            v.
13
      MIGUEL ANGEL MALDONADO,
14
15                Defendant.
16
17         Based upon the Motion to Dismiss the Indictment Without Prejudice, and for the
18 reasons set forth therein, and for good cause appearing therefor, IT IS HEREBY ORDERED
19 THAT:
20         The United States’ Motion is GRANTED, and the Indictment is dismissed without
21
     prejudice.
22
           DATED: September 30, 2021
23
24                                _______________________________________
25                             For HONORABLE ANTHONY J. BATTAGLIA
26                                UNITED STATES DISTRICT COURT JUDGE
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